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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                             Chris Wolpert
   Clerk of Court                        August 21, 2019                        Chief Deputy Clerk




   Mr. John C. Arceci
   Office of the Federal Public Defender
   Districts of Colorado and Wyoming
   633 17th Street, Suite 1000
   Denver, CO 80202

   Mr. Jeffrey P. Colwell
   United States District Court for the District of Colorado
   Office of the Clerk
   Alfred A. Arraj U.S. Courthouse
   901 19th Street
   Denver, CO 80294-3589

   Ms. Celeste B. Rangel
   Mr. Karl L. Schock
   Office of the United States Attorney
   District of Colorado
   1801 California Street, Suite 1600
   Denver, CO 80202

   RE:       19-1237, United States v. Thomas
             Dist/Ag docket: 1:19-CR-00020-RM-1

   Dear Counsel and Clerk:

   Please be advised that the court issued an order today dismissing this case.

   In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
   mandate issued today, and the court's judgment takes effect.
   Case No. 1:19-cr-00020-RM Document 38 filed 08/21/19 USDC Colorado pg 2 of 2

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   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court




   EAS/sds




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